Case 2:19-cv-08917-SB-KS Document 33 Filed 02/11/21 Page 1 of 3 Page ID #:662



  1
      Jen-Feng Lee, SBN 204328
  2   jflee@ltpacificlaw.com
      Kenneth K. Tanji, Jr., SBN 162273
  3
      ktanji@ltpacificlaw.com
  4   LT Pacific Law Group, LLP
  5
      17800 Castleton Street, #560
      City of Industry, CA 91748
  6
      T: 626-810-7200
  7   F: 626-810-7300
  8
      Attorneys for Plaintiff
  9   OCM GROUP USA INC.
 10

 11                       UNITED STATES DISTRICT COURT
 12                     CENTRAL DISTRICT OF CALIFORNIA
 13

 14   OCM GROUP USA INC.                             Case No. 2:19-CV-08917-SB (KSx)
 15
                  Plaintiff,                         PLAINTIFF’S LR 79-5.2
 16                                                  APPLICATION TO FILE
 17
            vs.                                      CERTAIN DOCUMENTS UNDER
                                                     SEAL; [proposed] ORDER; AND
 18   LIN’S WAHA INTERNATIONAL                       REDACTED DOCUMENTS
 19   CORP, a New York corporation; and
      DOES 1 - 10,
 20

 21               Defendants.
 22

 23

 24

 25         Now come the Plaintiff, OCM GROUP USA INC., by and through the
 26   undersigned attorneys, and pursuant to Local Rule 79-5.2, the Court’s
 27   Standing Order, and the Protective Order issued by this Court, respectfully,
 28
      submit this Application for filing certain documents under seal in support of
      ____________________________________________________________________________________

                        Plaintiff’s Application to file Documents Under Seal
                                                 1
Case 2:19-cv-08917-SB-KS Document 33 Filed 02/11/21 Page 2 of 3 Page ID #:663



  1
      Plaintiff’s Opposition to Motion for Summary Judgment of infringement
  2
      liability and damages, as listed below:
  3

  4         Exhibit 5 (Confidential AEO designated):
  5               Plaintiffs’ purchase cost document (OCM-002)
  6         Exhibit 6 (Confidential AEO designated):
  7               Plaintiff’s sales price documents (OCM-003 - 006)
  8         Exhibit 7 (Confidential AEO designated):
  9               Plaintiff’s damages computation (OCM-001)
 10         Exhibit 10 (Confidential AEO designated):
 11               Plaintiff’s sales of the Branded Products produced via Excel files to
 12               be lodged
 13

 14          A counsel declaration is submitted along with this Application, in
 15   compliance with LR 79-5.2.2(b), stating the good cause for the under seal filing
 16   and that Plaintiff would not oppose.
 17         A proposed order granting the under seal filing is submitted along with this
 18   Application.
 19

 20
      Dated: February 11, 2021                   Executed at: Industry, California
 21

 22
                                                          /s/Jen-Feng Lee
                                                 By:
 23                                                       Jen-Feng (Jeff) Lee
 24                                                       Attorney for Plaintiff OCM GROUP
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      ____________________________________________________________________________________

                        Plaintiff’s Application to file Documents Under Seal
                                                 2
Case 2:19-cv-08917-SB-KS Document 33 Filed 02/11/21 Page 3 of 3 Page ID #:664



  1
                               CERTIFICATE OF SERVICE
  2

  3
            I hereby certify that I electronically filed the foregoing documents with the
  4

  5
      Clerk of the Court for the United States District Court for the Central District of
  6   California by using the CM/ECF system on February 11, 2021; the document(s)
  7
      identified as:
  8

  9     PLAINTIFF’S LR 75-5.2 APPLICATION TO FILE CERTAIN
 10
        DOCUMENTS UNDER SEAL; [proposed] ORDER; AND REDACTED
        DOCUMENTS
 11

 12
            Participants in the case who are registered CM/ECF users will be served

 13   by the CM/ECF System.
 14
            I certify under penalty of perjury that the foregoing is true and correct.
 15

 16

 17

 18

 19   Dated: February 11, 2021                       /s/ Jen-Feng Lee
                                                     Jen-Feng Lee
 20

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      ____________________________________________________________________________________

                        Plaintiff’s Application to file Documents Under Seal
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